                      IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                                        3:04cr327

UNITED STATES OF AMERICA                        )
                                                )
               vs.                              )                    ORDER
                                                )
ORLANDO HERNANDEZ                               )
                                                )

       THIS MATTER was scheduled for sentencing hearing on October 24, 2005, at 9:30 a.m.

A notice of the hearing was mailed to counsel for the defendant on or about September 19, 2005.

A interpreter was employed by the Court to translate during the hearing. The United States

Marshals Service transported the defendant to the hearing. Counsel for the government and the

United States Probation Officer were present and prepared to proceed. However, counsel for the

defendant failed to appear for the hearing.

       IT IS, THEREFORE, ORDERED, that counsel for the defendant will appear on

Monday, October 31, 2005, at 3 p.m., to show cause why he should not be held in contempt. The

sentencing hearing of the defendant will follow.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the U.S.

Probation Office.




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                       Signed: October 24, 2005




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